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                             IN THE UNITED STATES DISTRICT COURT

                            FOR THE EASTERN DISTRICT OF ARKANSAS

                                      LITTLE ROCK DIVISION




JEWELLEAN MOORE,
PLAINTIFF

VS.                                                                           JAMES
                                                                              By:     .,,.,_...., , _ v<"Jg/ LERK
CRESENT MEDICAL CENTER                                                                     <J   >      -- -·

DR.EMANUEL RAFAEL,
DEFENDANTS.




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                            COMPLAINT FOR MEDICAL MALPRACTICE

                                      WITH JURY DEMAND                                               ~

                                                                This case assigned to Di§l~~
                                                                and to Magistrate Judg~----
PRELIMINARY STATEMENT:

 Comes now the Plaintiff, Jewellean Moore, Brings this Action pertaining to Medical

Malpractice and Negligence against Cresent Medical Center and Doctor Emanuel Rafauel.




                                                JURISDICTION:




Plaintiff is a Citizen of Little Rock Arkansas, the Defendants are Citizens who Work/Resides

in the Lancaster, Texas area. This Court have Jurisdiction, pursuant to 28 U.S.C. 1332,




                                            PARTIES:



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1) Plaintiff- Jewellean Moore, 6200 Colonel Glenn Rd,#219, Little Rock, AR.72204

2). Defendant-Cresent Meedical Center, 2600 W. Pleasant Run Rd., Lancaster,TX.75146;

3). Defendant-Doctor Emanuel Rafael, 2600 W. Pleasant Run Rd., Lancaster, TX. 75146.




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                                     STATEMENT OF CLAIM:




 A). On May 6,2016, while Visiting the Dallas area, Plaintiff, hereinafter "Moore", Checked

 in the Cresent Medical Center for Emergency Medical Treatment. where Moore had sudden

 extreme violent Headaches, Vomiting, disorientation, and sensitivty to light. Dr. Emamuel-

 Rafael, was the Attending Emergency Physician. because of Moore's inability to Speak

 coherently, Moore's Partner, Arthur Carson, briefed Dr. Rafael of Moore's Medical dilemma.

 the Defendants failed to apply any standard of Medical Care toward Moore, by gross negligently

 discharging Moore, despite Her inability to Walk on Her own, Vomiting and overall worsening

condition. see attached, (Exhibit #1 "excerpts from Moore's Medical charts" )

 B).The Defendants failed to perform any Neurological tests, or blood evaluation, and ignored

Moore's plea for help. the Defendants failed to diagnose and treat what was Severe Sepsis,

that had altered Moore's speech, and diminished Her ability to identify People.

 The Defendants prescribed Clonidine for high blood pressure and Discharged Moore.

C). Overnight for several hours Moore constantly Vomited and suffered excruciating Head-

aches, and lost Her ability to Walk. after Arthur Carson witnessed the overall deterioration

the Morning of May 7,2016, He made arrangements to transport Moore to Baylor-White &

Scott Hospital Emergency Room, where Moore would remain for five days for severe Sepsis.




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        D).As a direct and proximate result of Defendants indifference to Moore suffering, there

       was a breach of applicable standard of Medical care, that caused Moore conscious pain,

       and suffering, Memory problems and other cognitive damages, and subsequent Hospitalization
       from May 7-11, 2016, in Baylor/Scott & White in Dallas, Texas. see

       (Plaintiff's Exhibit N0.2 "Excerpts from Baylor-Scott & White".)

       The Defendants premature discharge were done so despite Moore's Blood pressure was

       never stabilized and remained dangerously high, (214/97 BP reading). Defendants Negligence

       in treating Moore's Life Threatening infection allowed it to Worsen and cause havoc.

       E). At All relevant times, Dr Rafeal, was Employed by Cresent Medical Center, and were acting

       within the scope of His Employment.




                                                   PRAYERS:

         WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY That Damages of One Million Dollars

       from Each Defendant to Plaintiff; Court Cost; all Else Relief this Court deem Equitable.

       Respectfully Submitted
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    /l!Jewellean
     JI'         Moore
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       (972-897-0182)
       6200 Colonel Glenn Rd #219
       Little Rock AR 72204

         I Jewelleam Moore, swear the foregoing statements are true and correct, pursuant to 28 U.S.C.

       1746.




                                                      tljf
